


  Finch, J.
 

  This appeal is from an interlocutory judgment overrnling a demurrer and determining that the complaint assailed stated a good cause of action. That pleading alleged that the plaintiff was and is a resident of this state, and the defendant a corporation created and existing under our laws. The contest thus is between a resident individual and a domestic' corporation. The latter owned and operated a line of railroad extending beyond our boundaries into the adjoining state of Pennsylvania, and the complaint alleged that in that state the plaintiff’s husband was killed by the negligence of the defendant company. The complaint further averred that the statutes of that state gave a right of action for the injury sustained by the widow and children; that the remedy could be enforced in the name of the former as plaintiff, but for her own benefit and that of the children, and that such statute was of similar import to that existing in our own jurisdiction. Judgment was thereupon demanded for damages in the sum of $20,000.
 

  The demurrer interposed raised two objections: 1st That the statutes of the two states were not similar, but different; and 2d. That
   
   *388
   
  the action could not be maintained herein the name of the widow,, but only in that of an executor or administrator of the deceased, and the final result sought to be established was that the widow could not maintain an action in this state because that is contrary to our statute, and that the administratrix could not, because that, is contrary to the Pennsylvania statute, and so there is no remedy whatever in our jurisdiction.
 

  Certain propositions essential to the inquiry before us have been explicitly determined in
  
   McDonald
  
  v. Mallory, 77 N. Y., 546, and need no other citation for their support. That case held that the libility of a person for his acts, whetcr wrongful or negligent, depends in general upon the law of the place in which the acts, were committed; that actions for injuries to the person in another state are sustained here without proof of the
  
   lex loci
  
  because they are permitted by the common law which is presumed to exist in the i'oregin state; that such presumption does not arise where the right of actibn depends upon a statute which confers it; and that, in such case, the action can only be maintined here by poof that the statutes of the state in which the injury occurred give the right of action and are similar to our own.
 

  Upon the question of similarity we have also held that the two-statutes need not be identical in their terms or precisely alike, but it is enough if they are of similar import and character, founded upon the same principle and possessing the same general attributes.
  
   Leonard
  
  v.
  
   Columbia Steam Nav. Co.,
  
  84 N. Y., 53. It is quite evident that the two statutes are of similar import. They are founded upon the same principle, are aimed at the same evil, construct the same sort or kind of action, and give it for the benefit of the same class of individuals. In both the utter failure of redress at common law where the injury ended in death was the injustice for which a remedy was enacted; and in both the new action was given for the benefit of those who had suffered an injury as the consequence of the wrong. This fundamental agreement in the main and substantial characteristics of the two statutes is not affected by the differences of detail which the demurrer points out.
 

  The first is that by the
  
   lex loci
  
  the proper person to bring this action, and the only person who can maintain it, is the widow. While by our law the right of action is given to the executor or administrator. But it is given to the latter not in his broad representative character, but solely as trustee, in a case like the present, for the widow and children.
  
   Hegerich
  
  v.
  
   Keddie,
  
  99 N. Y., 267. It is not a right which survives to the personal representatives, but a right created anew. The real parties in interest, those whose injury is redressed, whose right is vindicated, to whom all damages go, are one and the same in both forums. If the formal parties are different, the substantial and real parties are identical, and the difference in the trustee appointed by the law to represent their right is not such a difference as to bar our tribunals from their jurisdiction, or make the two statutes dissimilar under the rule.
 

  It is claimed, however, that even in that event the right of action accruing in the place of the transaction can only be cn
   
   *389
   
  forced in. our jurisdiction under our remedial forms, and so should have been brought by the plaintiff, not as widow, but as administratrix, to which office she had been appointed in this state. But it must not be forgotten that the cause of action sued upon is the cause of action given by the
  
   lex loci
  
  and vindicated here and in our tribunals upon principles of comity. 84 N. Y., 53,
  
   supra.
  
  That cause of action is given to the widow in her own right and as trustee for the children, and we open our courts to enforce it in favor of the party who has it and not to establish a cause of action under our statute which never, in fact, arose. We refer to the
  
   lex fori
  
  and measure it by, and compare it with, the
  
   lex loci,
  
  I think, for two reasons: One that the party defendant may not be subjected to different and varying responsibilities; and the other that we may know that we are not lending our tribunals to enforce a right which we do not recognize, and which is against our own public policy ; and we do not refer to our law as creating the cause of action which we enforce. It is the cause of action created and arising in Pennsylvania which our tribunals vindicate upon principles of comity; and, therefore, must be prosecuted here in the name of the party to whom alone belongs the right of action; and that rule the courts of Pennsylvania enforce where the cause of action arises here, by permitting it to be brought by the executor or administrator to whom by our law the right is given, although not by their own.
  
   Usher
  
  v.
  
   West Jersey R. R. Co.,
  
  126 Pa. St., 207.
 

  But the second difference relied on is that in Pennsylvania there is no restriction upon the amount of damages which may be recovered, while in our state they cannot exceed $5,000. That restriction pertains to the remedy rather than the right
  
   Dennick
  
  v.
  
   Central Railroad of New Jersey,
  
  103 U. S., 11. It is a limitation upon the discretion of the jury in fixing the amount of damages, but not upon the right of action or its inherent elements and cnaracter. The restriction indicates our public policy as to the extent of the remedy, and the plaintiff who chooses to avail herself of our remedial procedure must submit to our remedial limitations, and be content with a judgment beyond which our courts cannot go. They cannot exceed it in a case arising here, and no principle of comity requires them to enlarge the remedy which the plaintiff voluntarily seeks.
 

  There may be, there very possibly is, an exception to that rule, resting upon its own peculiar reasons, in a case where the defendant is not, as here, a domestic corporation, formed under our law and so entitled to the benefit of our remedial limitations, but is a corporation of the state within whose jurisdiction the cause of action arose, and by whose law no restriction upon the amount of damages is permitted or enacted. We do not decide that question ; but the same reasoning which would expose such a corporation to the law of its own jurisdiction would serve equally to justify the right of the domestic cornoration to be protected by the remedial limitations of its jurisdiction. The difference between the two statutes, therefore, does not strictlv affect the rule of damages, but rather the extent of damages, and that extent, as
   
   *390
   
  limited or unlimited, does not enter into any definition of the right enforced or the cause of action permitted to be prosecuted. And so the causes of action in the two forums are not thereby made dissimilar. These views lead to an affirmance of the interlocutory judgment.
 

  That judgment should be affirmed, with costs, but with leave to the defendant to withdraw the demurrer and plead anew within twenty days after service of a copy of the judgment entered upon filing the remittitur, and upon payment of the costs of the action from the interposition of the demurrer to that date.
 

  All concur.
 


   Affirming 35 N. Y. State Rep., 685.
  

